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                        UNITED STATES DISTRICT COURT

                     NORTHERN DISTRICT OF CALIFORNIA

 LHC GROUP, INC., Administrator of the
 LHC Group Benefit Plan, on behalf of the       Case No.: 4:21-CV-3877
 Plan and as subrogee,

 Plaintiff,                                     ORDER GRANTING JOINT
                                                STIPULATION FOR STAY OF
 vs.                                            DISCOVERY AND EXTENDING
                                                TIME ON MOTION TO DISMISS
 BAYER CORP.; BAYER                             AND MOTION TO REMAND
 HEALTHCARE LLC; BAYER ESSURE
 INC. (F/K/A CONCEPTUS, INC.);
 BAYER HEALTHCARE
 PHARMACEUTICALS, INC.; and
 DOES 1through 10, inclusive,

 Defendants.

        The Court, having reviewed the Parties’ Joint Stipulation for Stay of Discovery and

Extending Time on Motion to Dismiss and Motion to Remand, and good cause appearing

therefore, hereby enters the following Order.

        All discovery is hereby STAYED pending further Order of the Court, and the following

scheduling Order shall govern the pending Motion to Remand [and Motion to Dismiss, provided

that the Court does not enter a separate Order adjourning the Motion to Dismiss until after a

determination on the Motion to Remand]:

               Motion to Dismiss                           Motion to Remand
 •       Opposition: July 28, 2021              •     Opposition: July 28, 2021
 •       Reply: August 18, 2021                 •     Reply: August 18, 2021
 •       Argument: September 9, 2021            •     Argument: September 9, 2021
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                                         PURSUANT TO STIPULATION, IT IS
                                         SO ORDERED.


Dated: 6/30/2021
                                         ____________________________________
                                         Honorable Haywood S. Gilliam, Jr.
                                         United States District Judge
